                                      UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF MISSOURI
                                                      WESTERN DIVISION

 UNITED STATES OF AMERICA                                                §      JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         §      Case Number 4:16-00348-01-CR-W-GAF
 JOHN C. VERSTRAETE                                                      §      USM Number: 31943-045
                                                                         §      Christopher J. Angles
                                                                                Defendant’s Attorney
                                                                         §
         The defendant:

 ☒ pleaded guilty to count(s) 1 and 6 of indictment on 4/26/18

         The defendant is adjudicated guilty of these offenses:

 Title & Section / Nature of Offense                                                                   Offense Ended        Count
 Conspiracy to Commit Health Care Fraud                                                                11/1/14              1
 18 U.S.C. §§ 1347 and 1349

 Conspiracy to Dispense a Controlled Substance                                                         11/1/14              6
 21 U.S.C. §§ 841(a)(1) and 846



        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 2, 7, 8 and 9 ☐ is ☒ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    October 18, 2018

                                                                  Date of Imposition of Judgment




                                                                  /s/ Gary A. Fenner
                                                                  Signature of Judge

                                                                  GARY A. FENNER
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  October 19, 2018
                                                                  Date




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                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

Ct. 1: 12 months; Ct. 6: 12 months, concurrent.

 ☐ The court makes the following recommendations to the Federal Bureau of Prisons:
        that the defendant be designated to a Bureau of Prisons facility as near Kansas City, MO as possible.



 ☐ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                    ☐     a.m.           ☐   p.m.    on

          ☐ as notified by the United States Marshal.

 ☒ The defendant shall surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:

          ☒ before 2 p.m. on December 3, 2018
          ☐ as notified by the United States Marshal.
          ☒ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                     , with a certified copy of this judgment.




                                                                 U.S. MARSHAL




                                                                 DEPUTY U.S. MARSHAL




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                                                  SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of : Ct. 1: 3 years; Ct. 6: 3 years,
concurrent.
                                              MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☐ The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
            seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on
 the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
        As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
     time frame.

2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.

3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
     the court or the probation officer.

4.   You must answer truthfully the questions asked by your probation officer.

5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
     officer within 72 hours of becoming aware of a change or expected change.

6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
     excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least

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     10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.

8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
     the probation officer.

9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.


                                 SPECIAL CONDITIONS OF SUPERVISION
1.   The defendant shall provide the Probation Office with access to any requested financial information.

2.   The defendant shall not incur new credit charges or open additional lines of credit without the approval of the Probation Office,
     while court-ordered financial obligations are outstanding.

3.   The defendant shall successfully participate in any substance abuse testing program, which may include urinalysis, sweat patch,
     or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed by the Probation Office.

4.   The defendant shall successfully participate in any mental health counseling program, as approved by the Probation Office, and
     pay any associated costs, as directed by the Probation Office.

5.   The defendant shall submit his person and any property, house, residence, office, vehicle, papers, computer, other electronic
     communication or data storage devices or media and effects to a search, conducted by a U.S. Probation Officer at a reasonable
     time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
     release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
     may be subject to searches pursuant to this condition.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

 Defendant’s Signature                                                                            Date


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                                        CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments.

                                              Assessment        JVTA Assesment*                               Fine                  Restitution
 TOTALS                                          $200.00                                                         0                 1,500,000.00

 ☐ The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (AO245C) will be entered
   after such determination.
 ☒The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       Medicare and/or Medicaid
       (payment address to be provided by the government)

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

         Since the Court finds that the defendant does not have the ability to pay interest, any interest is waived.

         Since the Court finds that the defendant does not have the ability to pay a fine, the fine is waived.

         It is ordered that on Count 1, restitution of $1,500,000 is imposed. A lump sum payment of the full amount
         is ordered due immediately. If unable to pay the full amount immediately, while incarcerated, the
         defendant shall make quarterly payments of $25 or at least 10 percent of earnings, whichever is greater,
         and while on supervised release, monthly payments of $500 or 10 percent of gross income, whichever is greater, to
         commence 30 days after release from incarceration.

         Notwithstanding any other provision of this order, the Government may enforce restitution at any time.

         Pursuant to 18 U.S.C. 3612(g), the defendant may be subject to delinquent and default penalties.

          The defendant is hereby ordered to begin payment immediately and continue to make payments to the best of his ability until
this obligation is satisfied.

        All payments shall be made through: Clerk of the Court, United States District Court, 400 East 9th Street, Room 1150,
Kansas City, MO 64106.

         While restitution is still owed, the defendant shall notify, within 30 days, the U.S. Attorney (United States Attorney’s Office,
Financial Litigation Unit, 400 East 9th Street, Room 5510, Kansas City, MO 64106) of any change of residence and the Court and
U.S. Attorney when there is a material change in his economic circumstances.

          * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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                                             SCHEDULE OF PAYMENTS
         Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

       ☒ Total assessment of $200.00 due immediately. It is ordered that the Defendant shall pay to the United States a special
             assessment of $200.00 for Counts 1 and 6 which shall be due immediately. Said special assessment shall be paid to the
             Clerk, U.S. District Court.

       ☒ Restitution of $1,500,000.00 due immediately. If unable to pay the full amount of restitution immediately, the Defendant
             shall make monthly payments of $100 or 10% of gross income, whichever is greater.

         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution
and court costs.

         The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several
       See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
       Several Amount, and corresponding payee, if appropriate.




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